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 1   Seth B. Herring (SBN 253907)
     Email: sherring@reedsmith.com
 2   Katrina M. Kershner (SBN 294045)
     Email: kkershner@reedsmith.com
 3   REED SMITH LLP
     101 Second Street, Suite 1800
 4   San Francisco, CA 94105-3659
     Telephone: +1 415 543 8700
 5   Facsimile: +1 415 391 8269
 6
     Eryn N. Terry (SBN 340865)
 7   Email: eterry@reedsmith.com
     REED SMITH LLP
 8   355 S Grand Ave #2900
     Los Angeles, CA 90071
 9   Telephone: +1 213 457 8000
     Facsimile: +1 213 457 8080
10
     Attorneys for Plaintiff
11   BENEFIT COSMETICS LLC
12
                                 UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
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15    BENEFIT COSMETICS LLC,                  Case No.: 3:23-cv-00861-RS
16                 Plaintiff,                 DECLARATION OF SETH B. HERRING IN
                                              SUPPORT OF PLAINTIFF BENEFIT
17           v.                               COSMETICS LLC’S OPPOSITION TO
                                              DEFENDANT E.L.F. COSMETICS, INC.’S
18    E.L.F. COSMETICS, INC.                  MOTION TO MODIFY THE CASE
                                              MANAGEMENT SCHEDULING ORDER
19                 Defendant.                 Trial Date: August 26, 2024
20                                            Courtroom: 3
                                              Judge:      Hon. Richard Seeborg
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28                                                            Case No.: 3:23-cv-00861-RS
     DECLARATION OF SETH B. HERRING IN SUPPORT OF PLAINTIFF BENEFIT COSMETICS LLC’S
       OPPOSITION TO DEFENDANT E.L.F. COSMETICS, INC.’S MOTION TO MODIFY THE CASE
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 1   I, Seth B. Herring, declare as follows:
 2      1. I am an attorney duly admitted to practice before this Court. I am a partner of Reed Smith
 3   LLP (“Reed Smith”), attorney of record for Plaintiff Benefit Cosmetics LLC (“Plaintiff” or
 4   “Benefit”). I have personal knowledge of the facts set forth herein, and if called as a witness, I
 5   could and would competently testify thereto. I make this declaration in support of Plaintiff’s
 6   Opposition to e.l.f. Cosmetics, Inc.’s (“Defendant” or “e.l.f.”) Motion to Modify the Case
 7   Management Scheduling Order (Dkt. 55).
 8      2. Benefit served its First Set of Requests for Production of Documents on May 30, 2023,
 9   which included requests for documents related to any alleged third-party use of the Roller Lash
10   Trade Dress. Defendant agreed to produce documents responsive to this request.
11      3. Defendant served its First Set of Requests for Production of Documents on June 15, 2023,
12   which included requests for documents concerning any third-party use of the Roller Lash Trade
13   Dress. Benefit agreed to produce documents responsive to this request.
14      4. On July 28, Defendant made its first document production, which included images of
15   various third-party products containing pink and black.
16      5. On September 20, Defendant filed a motion to extend the discovery deadline by 45 days
17   due to e.l.f.’s counsel’s involvement in another case with trial dates that overlapped with the
18   discovery period in this case. Counsel’s other case did not go to trial.
19      6. In Defendant’s September 28 Settlement Conference Statement, e.l.f. discussed the Alleged
20   Third-Party Use of the Roller Lash Trade Dress and provided images of the Third-Party Products.
21      7. On October 12, Benefit served an additional set of requests for production that sought
22   further detail into the Third-Party Products shown in e.l.f.’s Settlement Conference Statement.
23      8. In response, Defendant produced images of the Third-Party Products and related documents
24   on November 14.
25      9. On November 15, e.l.f.’s 30(b)(6) witness regarding third party use testified regarding
26   certain Third-Party Products.
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 1      10. On December 15, Defendant served Benefit with notice of 15 third-party subpoenas seeking
 2   testimony from the purported manufacturers of certain Third-Party Products.
 3      11. On December 21, Defendant took the deposition of Benefit’s 30(b)(6) witness regarding
 4   third-party use.
 5      12. As of the filing of this Opposition, it is unclear whether a single subpoena has been served,
 6   or a single deposition scheduled.
 7      I declare under penalty of perjury that the foregoing is true and correct. Executed on January 2,
 8   2024, in San Francisco, California.
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10                                         /s/ Seth B. Herring
                                           Seth B. Herring
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